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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    §
                                            §
                                            §
v.                                          §         Case No. 21-CR-00046-RDM
                                            §
PATRICK MONTGOMERY and                      §
BRADY KNOWLTON,                             §
                                            §
         Defendants                         §

         DEFENDANTS’ REPLY TO GOVERNMENT’S FILINGS RELATED TO
                    DEFENDANTS’ MOTION TO DISMISS
             COUNT TEN OF SECOND SUPERSEDING INDICTMENT

TO THE HONORABLE RANDOLPH D. MOSS, UNITED STATES DISTRICT
JUDGE FOR THE DISTRICT OF COLUMBIA:

         PATRICK MONTGOMERY and BRADY KNOWLTON, the Defendants in the

above styled and numbered cause, by and through their respective, undersigned coun-

sel, submit the following reply to the Government’s recent filings related to their Mo-

tion to Dismiss Count Ten of the Second Superseding Indictment. More specifically,

this response is made relative to the following filings:

     ▪   Government’s Bill of Particulars and Supplemental Filing on 18 U.S.C. §
         1512(c)(2) in United States v. Guy Wesley Reffitt, Case No. 21-cr-00032-DLF
         (filed in this case under Doc. No. 81)

     ▪   United States’ Reply to the Defendants’ Responses to the United States’ Sup-
         plemental Brief on 18 U.S.C. § 1512(c)(2) in United States v. Ethan Nordean,
         et al, Case No. 21-CR-175-TJK (filed in the case under Doc. No. 82)

Before responding to these individual filings, however, the Defendants are obligated

to raise a critical concern.

         The Government has filed multiple briefs over multiple cases over multiple



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months trying to explain how certain conduct allegedly engaged in on January 6 vio-

lates Section 1512(c)(2). They have gone to great lengths, raising various arguments,

and citing to multiple authorities (which, as discussed infra, are usually mostly inap-

plicable to the interpretation of this statute) as their argument and theory evolves

over time. This begs one simple question.

      How is an ordinary person of normal intelligence supposed to anticipate the

sort of mental gymnastics that the Government has embarked upon to place them on

notice of what conduct violates Section 1512(c)(2)? See Johnson v. United States, 576

U.S. 591, 595–96, 135 S. Ct. 2551, 192 L. Ed. 2d 569 (2015) (noting a statute is un-

constitutionally vague under the due process clause if “it fails to give ordinary people

fair notice of the conduct it punishes, or so standardless that it invites arbitrary en-

forcement.”). The Government is asking this Court to treat them as beyond Darwin-

esque and anticipate the evolution of the interpretation of a statute buried in Chapter

73 related to obstruction of justice into a broad prohibition against any obstructive

conduct against any proceeding. This is beyond throwing fish back in the ocean. See

Yates v. United States, 574 U.S. 528, 135 S. Ct. 1074, 191 L. Ed. 2d 64 (2015). It is the

Government wanting to prosecute the mechanic who builds a trap door into the side

of the boat so the captain can toss out the undersized fish to keep from getting caught

by the wildlife agent. The Government cannot and should not be allowed to keep try-

ing repeatedly to fit a square peg into a round hole. Each of these filings, like the

many others it has filed in this and other cases, attempt to do exactly that.




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The Reffitt Filing

       The Government’s filing in United States v. Reffitt boggles the imagination and

instinctively raises multiple concerns about the position the Government is now tak-

ing.

       First, and foremost, this Court should take heed of the particulars of the Gov-

ernment’s proof in that case and how they intend to prove that Mr. Reffitt violated

Section 1512(c)(2). The Government points first to Mr. Reffitt’s “individual actions

and by encouraging others, to prevent the Certification proceeding from occurring at

the time prescribed by law.” Brief at 2. They posit, “The defendant’s conduct thus

violated Section 1512(c)(2) by thwarting the commencement or operation of the un-

derlying proceeding on that basis alone.” Id. But to support that position, they do not

cite to any authority that holds the same. Instead, they give a compare citation to two

cases: United States v. Martinez, 862 F.3d 223 (2d Cir. 2017) and United States v.

Phillips, 583 F.3d 1261 (10th Cir. 2009). The flaw in using the compare citation to

both of those cases is that both — unlike the proceeding at issue in this case — in-

volved an investigation into whether some conduct violated the law, the very core of

what is meant by the “administration of justice.” See United States v. Richardson,

676 F.3d 491, 502–503 (5th Cir. 2012) (“[O]bstructing the due administration of jus-

tice means interfering with the procedure of a judicial hearing or trial.”); United

States v. Brenson, 104 F.3d 1267, 1279–80 (11th Cir. 1997) (“due administration of

justice” means “judicial procedure” and “the performance of acts required by law in




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the discharge of duties such as appearing as a witness and giving thoughtful testi-

mony when subpoenaed”). The Government recognizes this distinction in their very

next sentence when they quote the Ninth Circuit stating “it is not the witness but the

‘administration of justice’ that stands in need of protection.’” Brief at 2–3. The Gov-

ernment continues, “Here, it is the ‘official proceeding’ itself that needs protection.”

      So is the Government saying that if some proceeding “needs protection” from

some interference or attempts to keep it from occurring, that is an “official proceed-

ing” as defined by Section 1515 and applied in Section 1512(c)(2)? Is any attempt to

interfere with that proceeding sufficient to establish a violation of Section 1512(c)(2)?

That certainly cannot be the standard.

      What about a naturalization ceremony? Although a solemn and important oc-

casion for many who are becoming United States citizens, if one were to corruptly

interfere with or attempt to keep an objectionable individual from participating in

the proceeding before a district court to administer the oath of renunciation and alle-

giance, does that amount to a violation of Section 1512(c)(2)? Section 1512 certainly

cannot be interpreted to reach that far.

      The Government was correct in quoting the Ninth Circuit as discussed supra

because, as the Ninth Circuit recognized, statutes within Title 73 are not just about

protection of witnesses. See United States v. Lester, 749 F.2d 1288, 1295 (9th Cir.

1984). There must be some nexus to the administration of justice. Id. And, since noth-

ing about the electoral certification proceedings related to the administration of jus-

tice, the Government’s position here fails.



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      The Government continues by laying out the second way they intend to prove

Mr. Reffitt violated Section 1512(c)(2), stating that “evidence at trial will show that

the defendant specifically targeted at least two lawmakers—the Speaker of the

House, Nancy Pelosi, and then-Senate Majority Leader, Mitch McConnell—whom he

sought to physically remove or displace from the Capitol building.” Brief at 3. First,

no such allegation has been made here against Mr. Montgomery or Mr. Knowlton —

nor could there be or will there ever be — as there is no evidence to suggest they

targeted specific lawmakers. Second, and more importantly, is the specific targeting

of a lawmaker really the standard for what amounts to a Section 1512(c)(2) violation?

If so, how does the Government justify their decision in the case involving Dawn Ban-

croft where Bancroft filmed a “selfie style video of herself” stating, “We broke into the

capitol, we got inside, we did our part, we were looking for Nancy to shoot her in the

frickin’ brain, but we didn’t find her.” See United States v. Dawn Bancroft, 21-CR-

271, ECF No. 33 at 4 (emphasis added). Bancroft was only charged by information for

multiple misdemeanors but was never charged with violating Section 1512(c)(2). See

United States v. Dawn Bancroft, 21-CR-271, ECF No. 18. The inconsistency cannot

be ignored.

      The Government concludes their list of particulars for Mr. Reffitt by stating

that he violated Section 1512(c)(2) by intending “to corruptly obstruct or impede the

lawmakers’ consideration of constitutionally and statutorily required documents,”

presumably referring to the electoral certificates. Brief at 3. This is like, to use the

earlier example, trying to prosecute the mechanic who builds a trap door into the side



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of Mr. Yates’ boat for impeding, obstructing, or influencing the investigation or proper

administration of any matter within the jurisdiction of any department or agency of

the United States in violation of 18 U.S.C. § 1519. As the Defendants explained in

their Joint Supplemental Brief in support of their Motion to Dismiss, the electoral

certificates are not “evidence” under the plain meaning of that term or, more im-

portantly, the type of “evidence” used in the administration of justice that several of

the statutes within Title 73 aim to protect. See Joint Supplemental Brief at 24, ECF

No. 60.

      All that the Government’s list of particulars setting forth how they intend to

prove a violation of Section 1512(c)(2) in Mr. Reffitt’s case proves is that the Govern-

ment is still way off course in trying to prosecute individuals like Mr. Reffitt, Mr.

Montgomery, and Mr. Knowlton using a statute that is wholly inapplicable. The quix-

otic nature of their task becomes even more evident in the remainder of their filing.

      In the second section of their filing, the Government makes an eye-popping

argument as to why Section 1512(c)(2) does not render the rest of Chapter 73 super-

fluous.

      The Government opens by conceding the inherent nature of their interpreta-

tion of Section 1512(c)(2) as covering “some, but by no means all, of the conduct pro-

hibited by other obstruction statutes in Chapter 73.” Brief at 4. But then they resort

to non sequitur and state, “That unavoidable feature of such a backstop prohibition

is neither surprising nor a reason to give Section 1512(c)(2) an artificially limited

construction.” Id. How does that logic even work? Just because Chapter 73 may cover



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some other conduct that Section 1512(c)(2) does not, that statute should just be al-

lowed to roam free without any restrictions, applied in any context the Government

so chooses to apply it?

      As stated in previous briefing, Defendants do not dispute the Government’s

position that Section 1512(c)(2) “encompasses misconduct that threatens an official

proceeding ‘beyond [the] simple document destruction.” Id. Nor do they dispute the

Government’s position that the statute “criminalizes the same result prohibited by

Section 1512(c)(1) . . . when accomplished by other means.” Id. (emphasis in original).

Where the Government goes completely off-base is when they surmise, “In short, Sec-

tion 1512(c)(2) ‘operates as a catch-all to cover otherwise obstructive behavior that

might not constitute a more specific” obstruction offense involving documents or rec-

ords.” Id at 5 (emphasis added). To support this position, the Government cites to

three cases: United States v. Petruk, 781 F.3d 438 (8th Cir. 2015); United States v. De

Bruhl-Daniels, 491 F. Supp. 3d 237 (S.D. Tex. 2020); and, United States v. Aguilar,

515 U.S. 593 (1995). Brief at 5. The Government, however, takes the courts’ use of

the term “catch-all” in each of those cases entirely out of context. In each of those

cases, the obstructive conduct in those official proceedings related to an investigation,

in one form or the other, into whether certain conduct violated the law. See Petruk,

781 F.3d at 447 (involving false statements in a court proceeding); De Bruhl-Daniels,

491 F. Supp. 3d at 251 (involving a NCIS agent improperly informing individual he

was a target of an investigation and lying to FBI investigators about her actions);




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Aguilar, 515 U.S. at 598 (involving a federal judge lying to investigators about dis-

closing a wiretap). Stated more simply, they all involved some obstruction of justice.

So while Section 1512(c)(2) might arguably be considered a “catch-all” for conduct

that obstructs justice, these authorities do not support the contention that 1512(c)(2)

catches any and all kinds of obstructive conduct of any and all kinds of proceedings

in the lay sense of the term. The truth of the matter is that no such authority exists.1

        The Government gets it right in the end, noting, “a defendant does not violate

Section 1512(c)(2) unless he acts ‘in a manner that is likely to obstruct justice. . . .’”

Brief at 5. But as there is no allegation that the Defendants here obstructed justice,

there is no legal basis for the charge in Count Ten of the Second Superseding Indict-

ment alleging a violation of Section 1512(c)(2).

        As an aside to that point by the Government, in addition to citing to the Su-

preme Court’s decision in Aguilar to support their argument, the Government also

surprisingly makes a compare cite to United States v. Bronstein, 849 F.3d 1101 (D.C.

Cir. 2017) and adds a footnote with a new, interesting argument. See Brief at 5.



1 The additional cases cited by the Government in their Brief on page 5, like those discussed supra,
likewise all involve cases where there is some obstruction of justice, that is, some allegation of obstruc-
tive conduct that interfered with or impeded the flow of evidence be used to establish whether some
conduct violated the law or not. See United States v. Delgado, 984 F.3d 435, 452 (5th Cir. 2021) (in-
volving a federal judge, after learning he was target of investigation, contacting an associate about
changing a bribe payment to make it look like a campaign contribution); United States v. Friske, 640
F.3d 1288, 1291 (11th Cir. 2011) (alleged that defendant obstructed justice by trying to remove prop-
erty subject to forfeiture proceeding; conviction overturned due to lack of evidence to show defendant’s
knowledge of the forfeiture proceeding); United States v. Gordon, 710 F.3d 1124, 1151 (10th Cir. 2013)
(obstructed civil forfeiture proceeding by attempting to backdate a stock sale agreement; forfeiture
based on illegal conduct); United States v. Watters, 717 F.3d 733, 735 (9th Cir. 2013) (where the corrupt
obstruction involved defendant’s plan and attempt to obtain a forged receipt to show the legitimate
purchase of stolen vehicles); United States v. Mann, 701 F.3d 274, 307 (8th Cir. 2012) (where the cor-
rupt obstruction involved defendant instructing his wife to remove evidence from an office desk).


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      In their parenthetical, the Government states of Bronstein that the case stands

for the principle that “defendants who submitted to a security screening and entered

a government building where they made brief speeches and sung in a ‘spectacle’ that

‘lasted approximately two to four minutes’ prosecuted for ‘mak[ing] a harangue or

oration’ in the Supreme Court in violation of 40 U.S.C. § 6134, but not for violating

Section 1512(c)(2)). Then, in a footnote, they state

      Cases such as Bronstein illustrate that an individual briefly interrupt-
      ing a court hearing or legislative session or merely singing while in a
      proscribed area cannot credibly be described as having corruptly ob-
      structed, impeded, or influenced an official proceeding. By contrast, an
      individual who, in concert with many others and in some instances
      threatening or using violence and force, participates in overwhelming
      law enforcement officers in an effort to prevent lawmakers from ful-
      filling their constitutionally obligated responsibilities engages in a sep-
      arate and distinct category of conduct that falls within the scope of Sec-
      tion 1512(c)(2).

Id. Upon reading this, one can only scratch their head in wonder.

      Bronstein does not stand for the principle that the Government purportedly

wants it to stand for. Bronstein involved defendants intentionally disrupting a Su-

preme Court oral argument to voice their opposition to Citizens United. Bronstein,

849 F.3d at 1104–05. Right off the bat, the case is inapplicable as it involved the

obstruction of an actual judicial proceeding, not some proceeding before Congress. See

id. More notably, the defendants there were only charged with violating 18 U.S.C.

1507 and 40 U.S.C. 6134; they were never charged with violating Section 1512(c)(2)

and hence, the case gives no comment on whether such conduct does or does not vio-

late that statute. Id. at 1105.




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      The demonstration in Bronstein, however, was a pre-planned event by demon-

strators with the express intention of disrupting, impeding, and obstructing the pro-

ceedings. Id. at 1104–05. They, in fact, acted in concert with one another, entering

the Supreme Court, standing up and shouting one at a time to disrupt the proceedings

and then, once one defendant was removed, another would stand up and continue to

disrupt the proceeding. Id. This went on seriatim until a handful of them were ar-

rested and removed from the Court. Id. Under the Government’s theory and logic

applied here, the Government should be arguing that their conduct did violate Sec-

tion 1512(c)(2).

      The footnote is where the real fault in the Government’s argument lies and

demonstrates how hopelessly vague their interpretation of Section 1512(c)(2) really

is. If Mr. Montgomery and Mr. Knowlton only sang their objections to the certification

proceedings, would they not be subject to prosecution for violating Section 1512(c)(2)?

How does one decipher when something can or “cannot credibly be described as cor-

ruptly” obstructing, impeding, or influencing an official proceeding? Brief at 5, fn.1.

Is the standard for violating the statute when an individual who “in concert with

many others . . . participates in overwhelming law enforcement. . . “? Id. Because if

that is the standard, the Government has a real problem where the evidence shows

Mr. Montgomery and Mr. Knowlton walked through an open Capitol door entrance

with multiple Capitol police officers standing by and making no efforts to stop them

from entering. What about other defendants charged with violating Section 1512 who




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did not “overwhelm law enforcement”? Is the Government now saying that “over-

whelming law enforcement” is the obstructive act? If so, is mere presence in the build-

ing with the intent to obstruct not a violation of Section 1512? If they are not conced-

ing that, at what point does the obstructive act begin? When does one “overwhelm”

law enforcement? What does “in concert with many others” mean? The list of ques-

tions is endless, but the audacity of the Government’s argument is evident here.

      The Government then embarks on a litany of references to other statutes

within Title 73 to stake their claim that their broad interpretation of Section

1512(c)(2) does not render many of those statutes superfluous. Brief at 6–9. But their

recitation of these multiple statutes ignores the position that they are taking in this

case regarding the application of Section 1512(c)(2).

      To elucidate, they cite to Sections 1501, 1502, 1503, 1516, 1517, 1518, and 1519

(and by footnote to Sections 1505, 1507, and 1510) to say that, because none of those

statutes require that the obstructive conduct be directed at an “official proceeding,”

these statutes fall “outside the scope” of Section 1512(c)(2). Id. Stating that is stating

the obvious and is beyond contention. What the Government fails to state or recog-

nize, however, is that its argument advocating a broad interpretation of Section

1512(c)(2) does, as the former Attorney General put it, “subsume virtually all other

obstruction provisions in Title 18. . . . It is not too much of an exaggeration to say

that, if Section 1512(c)(2) can be read as broadly as being proposed, then virtually all

Federal obstruction law could be reduced to this single clause.” Barr Memo at 5. For

instance, even though Section 1501 does indeed not require a nexus to an “official



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proceeding,” under the Government’s interpretation of Section 1512(c)(2), it could ar-

gue that an assault on a process server is a corrupt obstruction, interference, or im-

pediment of an official proceeding if that process server is attempting to serve, for

instance, a grand jury subpoena. Or “[r]esistance to [an] extradition agent,” see 18

U.S.C. § 1502, could also, under the Government’s interpretation, be considered cor-

rupt obstruction, interference, or impediment of an official proceeding if that agent is

trying to extradite a defendant to face criminal charges in an official proceeding.

      Surprisingly — despite the Government’s efforts to get this Court to embrace

the lay, rather than the legal interpretation of the term “official proceeding” — the

Government cites to Ermoian and other related cases that Defendants rely upon to

support its position that certain activities, namely law enforcement investigations,

fall outside the scope of Section 1512(c)(2). Brief at 7. Once again, the Government

makes its point . . . for the Defendants! Mr. Montgomery and Mr. Knowlton whole-

heartedly agree that, when given a limited interpretation such as the one embraced

by the courts in Ermoian, Sutherland, Ramos, and Dunn, cited to in the Government’s

brief, the remainder of Title 73 is not rendered superfluous. This is the interpretation

that this Court should — as the Government apparently does at this point in its brief

— embrace.

      Where the Government, once again, proves the audacity of its argument — and

makes what is probably the most shocking of them all — is in the following section

discussing Sections 1503 and 1505. Brief at 8. Here, not only do they point out that

neither of those sections require proof of conduct obstructing an “official proceeding,”



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they actually take the position that “an inquiry or investigation is not necessarily an

‘official proceeding’ whose obstruction would be prohibited by Section 1512(c)(2).” Id.

(emphasis added). Never mind that this entirely disregards both the plain language,

legislative history, and historical application of the statute as discussed extensively

by Defendants in their supplemental brief (at 10–18). Is it really the Government’s

position that when Congress is acting in “the due and proper exercise of the power of

inquiry under which any inquiry or investigation is being had by either House, or any

committee of either House, or any joint committee of the Congress,” that is not an

“official proceeding” that can be obstructed under Section 1512(c)(2) but somehow the

ministerial act involving the combined legislative bodies meeting to certify the elec-

toral college vote is? Consistent with its say-one-thing-but-disregard-another argu-

ment, it uses the case, United States v. Bowser, 964 F.3d 26 (D.C. Cir. 2020), cert.

denied, 141 S. Ct. 1390 (2021), to exemplify its point, namely, that “an investigation

undertaken by the House Ethics Committee would not appear to qualify as an ‘official

proceeding’ for purposes of Section 1512(c)(2), thus placing the chief of staff’s obstruc-

tive conduct outside the ambit of that provision. Brief at 9. Never mind that all the

court held in that case was that the defendant could not be prosecuted under Section

1505; nothing was said about the application or interpretation of Section 1512(c)(2).

Bowser, 964 F.3d at 31–32. Does the Government not recognize that, under its inter-

pretation of Section 1512(c)(2) that they are espousing in this case and others, a

House Ethics Committee chief of staff could most certainly be prosecuted for their

obstructive conduct in violation of Section 1512(c)(2)?



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        They obviously do not as they continue and conclude their argument. See Brief

at 9–12. They finally turn inward toward Section 1512 itself and argue that Section

(c)(2) is distinguishable from other provisions within the statute, such as sections (a)

and (b). Id. Rather than set out in detail here the flaws with this portion of the Gov-

ernment’s filing, the Defendants would direct this Court to the responsive filing by

Defendant Ethan Nordean in his case, responding to the Government’s Reply Brief

on the Meaning of the Term “Corruptly” in the Context of Obstruction of Congress.

See United States v. Ethan Nordean, et al, Case No. 21-cr-175-TJK, ECF No. 238, at

16–18 (attached hereto as an exhibit). In his response, Mr. Nordean recognizes simi-

lar problems in the Government’s filing there that the Defendants have identified

here.

        In sum, the Government’s attempts to demonstrate that its broad interpreta-

tion and application of Section 1512(c)(2) is proper and does not render the rest of

Chapter 73 superfluous in the Reffitt filing are wholly lacking. Taking from the re-

sponse by Mr. Nordean, in the past six years, the Supreme Court has twice rejected

the Government’s overbroad interpretations of “catchall” or “residual” clauses in ob-

struction of justice statutes. Marinello v. United States, 138 S. Ct. 1101, 1109–10, 200

L. Ed. 2d 356 (2018); Yates, 574 U.S. at 549. In both cases, the Court rejected the

government’s argument that redundancy in other obstruction statutes created by its

overbroad catchall interpretation was “mere overlap.” Marinello, 138 S. Ct. at 1107–

08 (While “[s]ome overlap in criminal provisions is, of course, inevitable,” the Court




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had not seen “overlap and redundancy to the degree that would result from the Gov-

ernment’s broad reading of § 7212”); Yates, 574 U.S. at 551 (“where noscitur a sociis

and ejusdem generis apply, “known unknowns” should be similar to known knowns,

i.e., here, records and documents. This is especially true because reading “tangible

object” too broadly could render “record” and “ document” superfluous.”). The Govern-

ment’s interpretation and application of Section 1512(c)(2) in these cases is far

broader than its interpretations in Marinello and Yates. This Court should likewise

reject such interpretation and application.

The Nordean Filing

      For the sake of brevity, rather than, like with the Reffitt filing, go point by

point to demonstrate the flaws with the Government’s filing in United States v.

Nordean, the Defendants would move this Court for leave to submit the entire re-

sponse filed by Mr. Nordean in response to the Government’s filing submitted both

there and here and adopt the arguments stated therein. See United States v. Ethan

Nordean, et al, Case No. 21-cr-175-TJK, ECF No. 238. Defendants maintain that Mr.

Nordean sufficiently sets forth the problems with the Government’s interpretation of

“corruptly” as applied to Section 1512(c)(2) and respectfully request this Court to re-

ject the Government’s position in this case and find that the statute is unconstitu-

tionally vague or otherwise inapplicable to the charged conduct.

      Based on the foregoing and all previous motions, objections, responses, replies,

and other related matters or argument filed or made related thereto, Defendants re-

spectfully request this Court grant their motion to dismiss Count Ten of the Second



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Superseding Indictment against them.

Date: December 10, 2021                Respectfully Submitted,

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                          CERTIFICATE OF SERVICE

      I certify that a true and correct copy of this motion was sent to Counsel for the

Government, Elizabeth Kelley, James Peterson, and James Pearce, on December 10,

2021, via CM/ECF and email.

                                       /s/ T. Brent Mayr
                                       T. BRENT MAYR




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